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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
KAREN READ,                            )
                                       )
            Petitioner,                )
                                       )                      Civil Action No.
      v.                               )                      25-cv-10399-FDS
                                       )
NORFOLK COUNTY SUPERIOR COURT )
and MASSACHUSETTS ATTORNEY             )
GENERAL,                               )
                                       )
            Respondents.               )
_______________________________________)

                                       SERVICE ORDER

SAYLOR, C.J.

        On February 18, 2025, Karen Read, through counsel, filed a Petition for a Writ of Habeas

Corpus under 28 U.S.C. § 2241 and supporting Memorandum of Law. Read paid the $5.00

filing fee.

        1.     Under ordinary circumstances, this Court would order petitioner to serve a copy

of the petition by mailing copies to the respondents. In light of the Court’s order directing an

expedited response, and the strong likelihood that respondents have actual notice of the petition,

the Court will instead direct counsel for petitioner to file a statement by the close of business on

February 20, 2025, stating or affirming that counsel has served a copy of the petition, in

electronic form or by hand, on counsel for respondents, or that counsel has communicated with

counsel for respondents and agreed that no further service is necessary.

        2.     As stated in the Court’s order of February 18, 2025, respondents have been

directed to file a responsive pleading on or before February 26, 2025. The responsive pleading
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must include a statement notifying this Court of the existence of any victim or victims as defined

by 18 U.S.C. § 3771.

So Ordered.


                                                     /s/ F. Dennis Saylor IV
                                                     F. Dennis Saylor IV
Dated: February 19, 2025                             Chief Judge, United States District Court




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